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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WISCONSIN

STATEMENT MADE PURSUANT TO 28 U.S.C. SECTION 1746

1. My name is Deborah Laufer. I am currently a resident of Pasco County, Florida. I
am unable to engage in the major life activity of walking more than a few steps
without assistive devices. Instead, I am bound to ambulate in a wheelchair or with
a cane or other support and have limited use of my hands. I am unable to tightly
grasp, pinch and twist of the wrist to operate. I am also vision impaired. When
ambulating beyond the comfort of my own home, I must primarily rely on a
wheelchair. I require accessible handicap parking spaces located closest to the
entrances of a facility. The handicap and access aisles must be of sufficient width
so that I can embark and disembark into a vehicle. Routes connecting the
handicap spaces and all features, goods and services of a facility must be level,
properly sloped, sufficiently wide and without cracks, holes or other hazards that
can pose a danger of tipping, catching wheels or falling. These areas must be free
of obstructions or unsecured carpeting that make passage either more difficult or
impossible. Amenities must be sufficiently lowered so that I can reach them. I
have difficulty operating door knobs, sink faucets, or other operating mechanisms
that tight grasping, twisting of the wrist or pinching. I am hesitant to use sinks that
have unwrapped pipes, as such pose a danger of scraping or burning my legs.

Sinks must be at the proper height so that I can put my legs underneath to wash
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my hands. I require grab bars both behind and beside a commode so that I can
safely transfer and I have difficulty reaching the flush control if it is on the wrong
side. I have difficulty getting through doorways if they lack the proper clearance.
To use a pool, I require a lift or other accessible means. When sleeping in a guest
room, I need a compliant tub or shower with required grab bars and a shower seat.
2. When looking at a hotel online reservation system, I need information so that I
can ascertain whether or not the hotel and its guest rooms are accessible to me.
This includes information whether the conditions referenced above are compliant.
3. In the past, I have observed that the vast majority of hotel online reservations
systems do not allow for booking of accessible rooms or provide the information I
need to make an informed choice. I have also booked a room at hotels whose
websites claim they are “accessible”, only to find that this claim is untrue.
Therefore, I cannot make plans to travel if I intend to stay in an accessible room at
an accessible hotel. The failure of so many hotels to comply with the law in this
regard deter me from making travel plans. Therefore, Iam an advocate on behalf
of both myself and other similarly situated disabled persons and consider myself a
tester. As a tester, I visit hotel online reservations systems to ascertain whether
they are in compliance with the Americans With Disabilities Act. In the event that
they are not, I request that a law suit be filed to bring the website into compliance
with the ADA so that I and other disabled persons can use it. Ifa law suit is filed
to bring the website into compliance, I frequently revisit the website to ascertain

whether or not it has been made accessible with the information required by law.
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With respect to each law suit I file, I subsequently revisit each website because
that is my system.

5. I have plans to travel to Wisconsin as soon as the Covid crisis is over and it is safe
to travel. I intend to travel all throughout the State and I need to stay in hotels
when I go. Because so many hotel websites fail to allow for booking of accessible
rooms and fail to provide sufficient information about whether or not the hotels’
features are accessible, it makes it extremely difficult for me to make any
meaningful choice because I am deprived of the information I need to compare
hotels, assess their accessible features and make my plans.

6. With respect to each hotel for which I filed a lawsuit in Wisconsin, I reviewed its
online reservations system multiple times prior to filing each respective lawsuit. I
visited the online reservation system for each hotel for the purpose of reviewing
and assessing the accessible features at the hotel and ascertain whether the
websites contain the information required by 28 C.F.R. Section 36.302(e) and
adequately informs me as to whether the hotel meets my accessibility needs. I was
in my own home in Pasco County when I visited these websites. However, I was
unable to do so because none of the hotels’ online reservations systems comply
with the requirements set forth in 28 C.F.R. Section 36.302(e). As a result, I was
deprived the same services available to the general public. The websites do not
identify any accessible rooms, provide for booking of accessible rooms or contain
sufficient information as to whether any rooms or features at the hotel are

accessible.
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7. When I encountered the above conditions, I suffered humiliation and frustration at
being treated like a second class citizen, being denied equal access and benefits to
the goods, facilities, accommodations and services. I am deterred from returning
to the websites because I understand that it would be a futile gesture to do so
unless I am willing to suffer further discrimination. I am aware that defendant
segregates against me and other disabled persons by offering them one service: me
a lesser service. I am aware that I am being deprived the equality of opportunity
afforded to non-disabled persons to utilize the online reservation system free of
discrimination. I am also aware that my ability to travel free of discrimination and
with equal access to information offered to the general public is diminished.
Failure of the hotel to have a compliant reservations system impedes my ability to
make a meaningful choice in planning my trip.

8. Despite the above, I plan to again review the websites in the near future. I have a
system whereby I always revisit the websites of every hotel I sued. In this regard,
I maintain a list of each hotel I have sued. I constantly go through this list and add
to it. With respect to each hotel I sue, I shortly thereafter revisit the hotel’s online
reservations system. When a suit is filed, I mark my calendar for 30 days
afterward, then revisit the hotel’s reservations system at that time. Once a case is
settled, I mark the date on my list when the defendant has agreed to fix its
websites. When that date arrives, I revisit it again and record my visits. Thus, I
revisit each hotel’s online reservations system at least two times after a lawsuit is

filed.
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Pursuant to 28 U.S.C. Section 1746, I declare, certify, verify, and state, under penalty of perjury

that the foregoing is true and correct.

Date: 9.9.20
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